




















NO. 07-10-0061-CV

&nbsp;

IN THE COURT OF APPEALS

&nbsp;

FOR THE SEVENTH DISTRICT OF TEXAS

&nbsp;

AT AMARILLO

&nbsp;

PANEL D

&nbsp;

SEPTEMBER 2, 2010

&nbsp;

______________________________

&nbsp;

&nbsp;

DALE BRAMLETT, INDIVIDUALLY AND AS INDEPENDENT 

ADMINISTRATOR OF THE ESTATE OF VICKI BRAMLETT,
DECEASED; 

SHANE FULLER AND MICHAEL FULLER, APPELLANTS

&nbsp;

V.

&nbsp;

BENNY P. PHILLIPS, M.D., APPELLEE

&nbsp;

_________________________________

&nbsp;

FROM THE 99TH DISTRICT COURT OF LUBBOCK COUNTY;

&nbsp;

NO. 2003-522,183; HONORABLE WILLIAM C. SOWDER, JUDGE

&nbsp;

_______________________________

&nbsp;

Before QUINN, C.J., and CAMPBELL and PIRTLE, JJ.

OPINION ON MOTION FOR REHEARING

At issue here is the authority of an intermediate appellate
court to review the judgment entered by a trial court after the Texas Supreme
Court has remanded the case to the trial court for the entry of a judgment
"consistent" with the opinion of the Supreme Court.&nbsp; Appellee, Benny P. Phillips, M.D., takes the
position that the Supreme Court's jurisdiction is exclusive, whereas Appellants, Dale Bramlett,
Individually and as Independent Administrator of the Estate of Vicki Bramlett, Deceased; Shane Fuller and Michael Fuller, take the position that this Court has statutory
jurisdiction.&nbsp; Believing this case to be one involving,
in part, review of legal and factual determinations made by the trial court within
the parameters of the mandate issued by the Supreme Court, we find that
intermediate appellate review of those previously unresolved issues would be
appropriate to the effective administration of justice.&nbsp; Accordingly, we reaffirm our denial of
Appellee's motion to dismiss and we deny Appellee's motion for rehearing.&nbsp;&nbsp;&nbsp; 

Background

This is an appeal following the entry of a judgment in favor
of Appellants in their medical malpractice cause of action against Appellee,
following remand from the Texas Supreme Court.&nbsp;
In the original appeal to this Court, the trial court's judgment was
reversed, in part, and a take-nothing judgment was rendered in favor of
Appellee on the issue of gross negligence and punitive damages; a remittitur was
suggested on the issue of Shane and Michael's future pecuniary losses; and, in
all other respects, the judgment of the trial court was affirmed.&nbsp; See Phillips
v. Bramlett, 258 S.W.3d 158 (Tex.App.--Amarillo 2007)
rev'd, 288 S.W.3d 876, 882 (Tex. 2009). Petition for review was granted by the
Texas Supreme Court to consider the interrelationship between two provisions of
the Medical Liability and Insurance Improvement Act of 1977, now repealed.&nbsp; See Tex. Rev. Civ. Stat. Ann. art. 4590i.[1]&nbsp; The first provision, Section 11.02(a), capped
the liability of a physician at a fixed amount, adjusted for inflation; whereas
the second provision, Section 11.02(c), created an exception to this cap when
the physician's insurer negligently fails to settle within the meaning of the Stowers Doctrine, that is, when the
physician's insurer negligently fails to settle a claim within the limits of
the physician's liability policy.&nbsp; See generally, G.A. Stowers
Furniture Co. v. Am. Indem. Co., 15 S.W.2d 544, 547 (Tex. Comm’n
App. 1929, holding approved).&nbsp;
Ultimately, the Supreme Court determined that both provisions could be
given effect by conforming the judgment against the
physician to Section 11.02(a)'s cap and reserving for another case any suit
against the insurer under Section 11.02(c)'s Stowers exception.&nbsp; Phillips
v. Bramlett, 288 S.W.3d 876, 882 (Tex. 2009).&nbsp; Accordingly, on March 6, 2009, the Supreme
Court reversed the judgment of this Court and remanded the cause to the trial court
for it to apply the cap and render judgment consistent with the opinion of the
Supreme Court.&nbsp; Id. at 883.&nbsp; 

Although the Supreme Court's opinion "reversed" the
judgment of this Court, it did not address issues previously determined by this
Court pertaining to the remittitur suggested on the issue of Shane and
Michael's future pecuniary losses or the recovery of punitive damages.&nbsp; All motions for rehearing were denied and the
Texas Supreme Court issued its mandate on September 29, 2009.&nbsp; 

After the Supreme Court issued its opinion, Appellants
amended their petition to include claims against Appellee's insurance carrier,
The Medical Protective Company of Fort Wayne, Indiana, Medical Protective
Insurance Services, Inc., d/b/a The Medical Protective Company of Fort Wayne,
Indiana (hereinafter "Med Pro"), and two adjusters, Dan Walston and Paul Rinaldi.&nbsp; Because Med Pro had filed a motion for
rehearing before the Supreme Court,[2]
Appellants contended that Med Pro was a party to the proceeding and they filed
a motion requesting the trial court to compel Med Pro to appear and answer
Appellants' allegations.&nbsp; 

Both parties moved for judgment and a hearing on pending
motions was heard on November 19, 2009.&nbsp; On
December 1, 2009, the trial court signed a new judgment, the judgment the
subject of this appeal.&nbsp; In rendering
that judgment, the trial court omitted findings contained in the original
judgment relevant to Appellants' amended pleadings and it implicitly denied
Appellants' attempt to add additional parties.&nbsp;
Furthermore, according to Appellant's allegations, in rendering judgment
the trial court disregarded a post-original judgment Rule 11 agreement between
the parties pertaining to the effective date for the computation of
post-judgment interest. Additionally, the trial court made legal and factual
decisions pertaining to the applicable date for computation of the statutory
cap, as well as the applicable consumer price index to be applied in
calculating the cap.&nbsp;&nbsp; Appellants' motion
to modify, correct, or reform that judgment was subsequently overruled by
operation of law.

Before filing this appeal, Appellants sought relief from the
Supreme Court through a petition for writ of mandamus.&nbsp; The requested relief was denied without
written opinion and this appeal followed.&nbsp;


Originally this Court denied Appellee's motion to dismiss for
want of jurisdiction without written opinion.&nbsp;
Upon consideration of Appellee's motion for rehearing, we requested
Appellants to respond.&nbsp; Thereafter,
Appellants did file a response and Appellee filed a reply to that response.

Appellate Jurisdiction

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; If a judgment is
reversed and the case is remanded to the trial court to have "some special
judgment rendered by the court below," the appellate court retains
jurisdiction until that particular judgment is entered and the mandate of the
appellate court obeyed.&nbsp; Wells v. Littlefield, 62 Tex. 28, 30-31
(1884).&nbsp; This jurisdiction is not,
however, exclusive.&nbsp; On remand, the filing
of the appellate court's mandate with the trial court clerk vests the trial
court with limited jurisdiction, as defined by the parameters of the mandate,
to decide those issues specified in the appellate court's mandate.&nbsp; V-F
Petroleum, Inc. v. A. K. Guthrie Operating Co., 792 S.W.2d 508, 510
(Tex.App.--Austin 1990, no writ); Texacally Joint
Venture v. King, 719 S.W.2d 652, 653 (Tex.App.--Austin 1986, writ ref'd
n.r.e.). 

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Thus, to the extent that
the mandate vests the trial court with jurisdiction, albeit limited, to
determine legal and factual issues, the parties retain their right to appeal those
determinations through the usual and customary process of appeal. Tex. Gov't Code §
22.220(a) (Vernon Supp. 2009).&nbsp; 

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; If a trial court exceeds
the limited jurisdiction granted by the mandate, the jurisdiction of the appellate
court continues for the purpose of enforcing its order by the issuance of
either a writ of prohibition or a writ of mandamus. See Wells, 62 Tex. at 31; Dallas/Fort
Worth Int'l Airport Bd. v. City of Irving, 868 S.W.2d 750, 751 (Tex. 1993);
Curtis v. Nobles, 588 S.W.2d 687, 690
(Tex.App.--Amarillo 1979, orig. proceeding). This right of review by writ of
prohibition or writ of mandamus does not, however, deprive an intermediate
appellate court of jurisdiction to review the decisions of the trial court
which were made within the trial court's limited jurisdiction.&nbsp; See
Wall v. East Tex. Teachers Credit Union, 549 S.W.2d 232
(Tex.App.--Texarkana 1977, writ ref'd) (appeal from
judgment of the district court on remand from the Texas Supreme Court); Peurifoy v. Wiebusch,
174 S.W.2d 619, 621-22 (Tex.Civ.App.--El Paso 1943, no writ) (appeal from the
judgment of the district court on remand from the Texas Supreme Court).

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Therefore, where the
Supreme Court reverses an earlier judgment and remands the case to the trial
court for the rendition of a judgment "consistent" with the judgment
of the Supreme Court, an intermediate appellate court has jurisdiction to
review the decisions of the trial court which were made within the trial
court's limited jurisdiction.

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Appellee contends the
Texas Supreme Court has exclusive jurisdiction to review the new judgment
entered by the trial court on remand.&nbsp;
Appellants contend the trial court erred in its legal determination of the
rate and commencement date for post-judgment interest, as well as matters
collateral to the Supreme Court's resolution of the Stowers issue.&nbsp; Because we believe Appellee has incorrectly
construed the law pertaining to the exclusivity of the Supreme Court's
jurisdiction, we reaffirm our denial of his motion to dismiss. 

Conclusion

Because the trial court had jurisdiction to enter judgment in
this case, we have jurisdiction to review the decisions of the trial
court.&nbsp; Appellee=s motion for rehearing is denied.

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Per
Curiam

&nbsp;

&nbsp;

&nbsp;











[1]Act of June 16, 1977, 65th Leg., R.S., ch.
817, § 11.02, 1977
Tex. Gen. Laws 2039, 2052 (formerly Tex. Rev. Civ. Stat. Ann. art. 4590i).&nbsp; &nbsp;Article
4590i was repealed by Act of June 2003, 78th Leg., R.S., ch.
204, § 10.09, 2003
Tex. Gen. Laws 847, 884.

&nbsp;





[2]The
Supreme Court ultimately treated the filing as an amicus brief.







